

ORDER

PER CURIAM.
AND NOW, this 24th day of August, 2004, there having been filed with this Court by William C. King, Jr., his verified Statement of Resignation dated April 13, 2004, stating that he desires to resign from the Bar of the Commonwealth of Pennsylvania in accordance with the provisions of Rule 215, Pa.R.D.E., it is
ORDERED that the resignation of William C. King, Jr., be and it is hereby accepted and he is DISBARRED ON CONSENT from the Bar of the Commonwealth of Pennsylvania, and it is further ORDERED that he shall comply with the provisions of Rule 217, Pa.R.D.E. Respondent shall pay costs, if any, to the Disci*1158plinary Board pursuant to Rule 208(g), Pa.R.D.E.
